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                                                                                                      CCCertPermWaiver (rev 01/2018)

                                 UNITED STATES BANKRUPTCY COURT
                                       Southern District of Indiana

    In re: DENNIS LEE STONER                                     )
                                                                 )
                                                                 )                          22-00969-JJG-13
                                                                           Case Number
                                                                 )
                                       Debtor(s)                 )

                              MOTION REQUESTING PERMANENT WAIVER
                                OF CREDIT COUNSELING REQUIREMENT
    Comes now                           Dennis Lee Stoner, by counsel,                         and request(s) the
                             (Name of party requesting relief, by counsel if applicable)
    entry of an order permanently waiving the credit counseling requirement set forth in 11
    U.S.C. § 109(h) because of incapacity, disability, or active military duty in a military
    combat zone, and in support thereof states:

[Describe in detail the incapacity/ disability or indicate where debtor is currently stationed, if serving in the military]

    The Debtor is 74 years old with serious dementia. Due to his dementia, he is “incapable
    of realizing and making rational decisions with respect to his financial responsibilities.” Id.
    Accordingly, he is exempt from the credit counseling requirement by reason of incapacity.




    Wherefore, the Debtor asks the court to grant a permanent waiver of 11 U.S.C. 109(h)'s
    credit counseling requirement.


                                                              Signature of filing party


                                                              Signature of joint filing party (as applicable)


                                                              OR

                                                         /s/ Matthew W. Conrad #23534-49
                                                              Counsel for Moving Party


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